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                                IN THE UNITED STATES DISTRICT COURT
                                FOR THE MIDDLE DISTRICT OF FLORIDA

     KAREN MARTIE, individually, and on                                 Case No.
     behalf of all others similarly situated,
                                                                      CLASS ACTION COMPLAINT
                         Plaintiff,
                                                                      DEMAND FOR JURY TRIAL
     v.

     M&M BEDDING, LLC d/b/a EASY REST
     ADJUSTABLE SLEEP SYSTEMS

                         Defendant.


                                           CLASS ACTION COMPLAINT

            Plaintiff Karen Martie (“Martie” or “Plaintiff”) brings this Class Action Complaint and

Demand for Jury Trial against Defendant M&M Bedding, LLC. (“Easy Rest” or “Defendant”) to

stop Easy Rest from violating the Telephone Consumer Protection Act by making unsolicited

calls to consumers who registered their phone numbers on the National Do Not Call Registry

(DNC), and to other obtain injunctive and monetary relief for all persons injured by Easy Rest’s

conduct. Plaintiff, for her Complaint, alleges as follows upon personal knowledge as to herself

and her own acts and experiences, and, as to all other matters, upon information and belief,

including investigation conducted by her attorneys.

                                                     INTRODUCTION

            1.        Easy Rest sells adjustable beds through distributors that are located throughout

the US.1

            2.        East Rest is a d/b/a of M&M Bedding, LLC.

            3.        In order to promote its line of adjustable beds, Easy Rest hosts regular

sweepstakes for which consumers can win a free bed, free pillow, or a combination of the two.


1
    https://www.easyrest.com/easy-rest-adjustable-bed-sleep-system-distributors/
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           4.        Relevant to this case, Plaintiff was contacted about the “Easy Rest Win-A-Bed-

Sweepstakes” that as of (January 23, 2019) was advertised on Easy Rest’s website:




                                                                                                           2



           5.        The sweepstakes is run so that Defendant can gather consumer phone numbers so

that it can solicit adjustable bed purchases from those consumers.

           6.        Unfortunately, Defendant is not careful to ensure it has sufficient consent to call

consumers that have registered their phone numbers on the DNC.

           7.        In Plaintiff’s case, Defendant placed 9 unsolicited calls to her landline phone

number, despite the fact that she never signed up for any sweepstakes and that her phone number

is registered on the DNC, and despite her requests for the calls to stop.

           8.        In response to these calls, Plaintiff files this lawsuit seeking injunctive relief,

requiring Defendant to cease placing unsolicited calls to consumers’ telephone numbers when

those telephone numbers are registered on the DNC, as well as an award of statutory damages to

the members of the Class and costs.

                                                   PARTIES

           9.        Plaintiff Martie is a Fort Myers, Florida resident.


2
    https://www.easyrest.com
                                                                                                           2
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       10.     Defendant Easy Rest is a Maryland corporation headquartered in Halethorpe,

Maryland. Defendant conducts business throughout this District and the State of Maryland.

                                 JURISDICTION AND VENUE

       11.     This Court has federal question subject matter jurisdiction over this action under

28 U.S.C. § 1331, as the action arises under the Telephone Consumer Protection Act, 47 U.S.C.

§227 (“TCPA”).

       12.     This Court has personal jurisdiction over Defendant and venue is proper in this

District under 28 U.S.C. § 1391(b) because the wrongful conduct giving rise to this case

occurred in this District. Venue is additionally proper because Plaintiff resides in this District

and the calls were directed towards Plaintiff in this District.

                                   COMMON ALLEGATIONS

Easy Rest Markets its Services by Making Unsolicited Calls to Consumers Without Their
Consent and Regardless of Whether Their Phone Numbers Are Registered on the National
Do Not Call Registry

       13.     Easy Rest places unsolicited calls to consumers, without consent, regardless of

whether they are calling numbers that are registered on the DNC.

       14.     The unsolicited calls are primarily made in reference to sweepstakes and contests

that Defendant runs.




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          15.     Not surprisingly, there are numerous online complaints about Defendant’s calls to

consumers who never consented to be called and in addition to consumers who have expressly

requested that the calls stop:

      •   “Idiots from ‘east rest adjustable beds’ keeps calling and says that you filled out a
          sweepstakes entry with your phone number on it……I never ever fill out ‘sweepstakes
          entries’ since they are usually scams, as this proves. They use a spoofed local area code
          number despite calling from Baltimore, MD. Further proof of their scam.”3
      •   “called said I had signed up for info on bed I havent signed up for anything.”4
      •   “Keep calling even though I told them I was not interest in their free pillow.”5
      •   “Continual calls from this number- a big annoyance”6
      •   “Keeps calling [in spite] of the fact that I requested to stop calling & to take my number
          off their list. 2-3 calls per day. This is harassment.”7
      •   “they keep calling even though i tell them not to call anymore”8
      •   My third call today this time selling mattresses and 2nd time I tell them I’m on a Do Not
          Call List. These scammers don’t give up.”9
      •   “This says easy rest company, they have called over 15 times. I never requested any
          information from them. I finally blocked them over a month ago, but they are still
          calling”10
      •   “… He continuously stated that ‘I’ must have filled out for the Sweepstakes, which is
          actually going on now, btw. When I wouldn’t take his answer and pushed him to look up
          my number he finally confirmed that this was not me and was never me who called in. He
          also stated that ‘I’ must have called or filled out an application… I have never made
          contact in any way with this company.”11
      •   “Repeated calls, robo calling. Needs to be shut down.”12

          16.     The phone calls made by, or on behalf of Easy Rest have caused frustration and

actual harm to consumers throughout the US.


                                       PLAINTIFF’S ALLEGATIONS

Easy Rest Repeatedly Called Plaintiff Without Her Consent, Despite Plaintiff Registering
Her Phone Number on the DNC



3
  https://800notes.com/Phone.aspx/1-903-771-4988
4
  id
5
  https://800notes.com/Phone.aspx/1-877-331-4052/3
6
  id
7
  id
8
  id
9
  https://800notes.com/Phone.aspx/1-530-554-2372
10
   https://www.whitepages.com/phone/1-877-331-4052
11
   https://findwhocallsyou.com/8773314052?CallerInfo
12
   id
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         17.   Plaintiff’s landline phone is used for personal use and is not associated with a

business.

         18.   Plaintiff has had her landline phone number registered on the DNC since June 9,

2003. The landline number was registered in order to avoid receiving unsolicited telemarketing

calls.

         19.   More than 30 days after Plaintiff registering her phone number on the DNC,

Plaintiff received unsolicited calls to her landline telephone number from Defendant using phone

number 239-676-6106.

         20.   Upon research done by Plaintiff’s attorneys, when 239-676-6106 is called, the

agents identify the company as being Easy Rest and make reference to a sweepstakes.

         21.   On January 8, 2019, Plaintiff received calls from Defendant using phone number

239-676-6106 at 8:03 AM, 1:28 PM, 2:58 PM, 4:23 PM, 6:08 PM, 7:37 PM and 8:58 PM.

         22.   All of the aforementioned calls on January 8, 2019 were answered by Plaintiff.

         23.   Plaintiff asked the live agents to stop calling her on January 8, 2019 during the

calls she received at 7:37 PM and 8:58 PM. During the 8:58 PM call, when Plaintiff asked the

agent to stop calling her phone number, the agent hung up on her.

         24.   Despite asking for the calls to stop, Plaintiff received additional calls on January

9, 2019 from Defendant using phone number 239-676-6106. Plaintiff received calls at 5:59 PM

and 7:30 PM, both of which she answered.

         25.   During the January 9, 2019 call Plaintiff received at 7:30 PM, Plaintiff informed

the agent that she had already asked twice for the calls to stop and that she had never given

consent for any of the calls in the first place. The agent acknowledged this complaint,

commenting that Plaintiff was the fourth person that day who said they did not sign-up for

anything. He then said it would take at least 24 hours to process the stop call request.

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       26.     When Plaintiff answered calls from Defendant, the live agents identified the

company as being Easy Rest Adjustable Beds.

       27.     It is unreasonable for Defendant to use a system that cannot stop the calls as soon

as the consumer asks for the calls to stop. In Plaintiff’s case, she received 3 additional unsolicited

calls after she had already asked for the calls to stop.

       28.     Plaintiff has never done business with Defendant and has never provided her

landline phone number to Defendant.

       29.     Simply put, Easy Rest did not obtain Plaintiff’s prior express written consent to

place solicitous telephone calls to her on her landline.

       30.     The unauthorized telephone calls made by Easy Rest, as alleged herein, have

harmed Plaintiff in the form of annoyance, nuisance, and invasion of privacy, and disturbed

Martie’s use and enjoyment of her landline phone, in addition to the wear and tear on the phones’

hardware (including the phones’ battery) and the consumption of memory on the phone.

       31.     On information and belief, Defendant, or a third-party acting on its behalf, made

substantively identical, repeated unsolicited calls en masse to the telephone numbers of hundreds

or thousands of consumers who had registered their phone numbers on the DNC. To the extent

the calls were made on Defendant’s behalf to consumers, Easy Rest provided the third-party

access to its records, authorized use of its trade name, otherwise controlled the content of the

calls, and knew of, but failed to stop, the making of the calls in violation of the TCPA.

       32.     Seeking redress for these injuries, Martie, on behalf of herself and Class of

similarly situated individuals, brings suit under the Telephone Consumer Protection Act, 47

U.S.C. § 227, et seq., which prohibits unsolicited calls to telephone numbers registered on the

DNC.




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                                    CLASS ALLEGATIONS

Class Treatment Is Appropriate for Plaintiff’s TCPA Claims Arising From Calls Made by
Easy Rest Agents

       33.     Plaintiff brings this action pursuant to Federal Rule of Civil Procedure 23(b)(2)

and Rule 23(b)(3) on behalf of herself and all others similarly situated and seeks certification of

the following two Classes:


       Do Not Call Registry Class: All persons in the United States who from four years
       prior to the filing of this action (1) Defendant (or an agent acting on behalf of
       Defendant) called more than one time on his/her residential telephone; (2) within
       any 12-month period (3) where the residential telephone number had been listed on
       the National Do Not Call Registry for at least thirty days; (4) for the purpose of
       selling Defendant’s products and services; and (5) for whom Defendant claims (a)
       it obtained prior express written consent in the same manner as Defendant claims
       it supposedly obtained prior express written consent to call the Plaintiff, or (b)
       Defendant did not obtain prior express written consent.

       Internal DNC Class: All persons in the United States who from four years prior
       to the filing of this action (1) one of Defendant’s agents called more than one time
       (2) within any 12-month period, (3) for substantially the same reason Defendants’
       agents called Plaintiff.

       34.     The following individuals are excluded from the Classes: (1) any Judge or

Magistrate presiding over this action and members of their families; (2) Defendant, its

subsidiaries, parents, successors, predecessors, and any entity in which Defendant or its parents

have a controlling interest and their current or former employees, officers and directors; (3)

Plaintiff’s attorneys; (4) persons who properly execute and file a timely request for exclusion

from the Classes; (5) the legal representatives, successors or assigns of any such excluded

persons; and (6) persons whose claims against Defendant have been fully and finally adjudicated

and/or released. Plaintiff anticipates the need to amend the Class definitions following

appropriate discovery.

       35.     Numerosity: On information and belief, there are hundreds, if not thousands of

members of the Classes such that joinder of all members is impracticable.
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       36.     Commonality and Predominance: There are many questions of law and fact

common to the claims of Plaintiff and the Classes, and those questions predominate over any

questions that may affect individual members of the Classes. Common questions for the Classes

include, but are not necessarily limited to the following:

               (a) whether Defendant systematically made multiple telephone calls to Plaintiff
                   and consumers whose telephone numbers were registered with the National
                   Do Not Call Registry;

               (b) whether Defendant placed two or more phone calls to Plaintiff and consumers
                   whose telephone numbers were registered with the National Do Not Call
                   Registry, after they asked for the calls to stop;

               (c) whether Defendants failed to implement policies and procedures for
                   maintaining a list of persons who request not to be called by Defendants
                   before engaging in telemarketing;

               (d) whether Defendant’s conduct constitutes a violation of the TCPA; and

               (e) whether members of the Class are entitled to treble damages based on the
                   willfulness of Defendant’s conduct.

       37.     Adequate Representation: Plaintiff will fairly and adequately represent and

protect the interests of the Classes, and has retained counsel competent and experienced in class

actions. Plaintiff has no interests antagonistic to those of the Classes, and Defendant has no

defenses unique to Plaintiff. Plaintiff and her counsel are committed to vigorously prosecuting

this action on behalf of the members of the Classes, and have the financial resources to do so.

Neither Plaintiff nor her counsel have any interests adverse to the Classes.

       38.     Appropriateness: This class action is also appropriate for certification because

Defendant has acted or refused to act on grounds generally applicable to the Classes and as a

whole, thereby requiring the Court’s imposition of uniform relief to ensure compatible standards

of conduct toward the members of the Classes and making final class-wide injunctive relief

appropriate. Defendant’s business practices apply to and affect the members of the Classes

uniformly, and Plaintiff’s challenge of those practices hinges on Defendant’s conduct with
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respect to the Classes as wholes, not on facts or law applicable only to Plaintiffs. Additionally,

the damages suffered by individual members of the Classes will likely be small relative to the

burden and expense of individual prosecution of the complex litigation necessitated by

Defendant’s actions. Thus, it would be virtually impossible for the members of the Classes to

obtain effective relief from Defendant’s misconduct on an individual basis. A class action

provides the benefits of single adjudication, economies of scale, and comprehensive supervision

by a single court. Economies of time, effort, and expense will be fostered and uniformity of

decisions will be ensured.

                                  FIRST CAUSE OF ACTION
                              Telephone Consumer Protection Act
                                  (Violation of 47 U.S.C. § 227)
                (On Behalf of Plaintiff Martie and the Do Not Call Registry Class)

         39.      Plaintiff repeats and realleges the paragraphs 1 through 38 of this Complaint and

incorporates them by reference herein.

         40.      The TCPA’s implementing regulation, 47 C.F.R. § 64.1200(c), provides that “[n]o

person or entity shall initiate any telephone solicitation” to “[a] residential telephone subscriber

who has registered his or her telephone number on the national do-not-call registry of persons

who do not wish to receive telephone solicitations that is maintained by the federal government.”

         41.      47 C.F.R. § 64.1200(e), provides that § 64.1200(c) and (d) “are applicable to any

person or entity making telephone solicitations or telemarketing calls to wireless telephone

numbers.”13

         42.      47 C.F.R. § 64.1200(d) further provides that “[n]o person or entity shall initiate

any call for telemarketing purposes to a residential telephone subscriber unless such person or




13
  Rules and Regulations Implementing the Telephone Consumer Protection Act of 1991, CG Docket No. 02-278, Report and
Order, 18 FCC Rcd 14014 (2003) Available at https://apps.fcc.gov/edocs_public/attachmatch/FCC-03-153A1.pdf
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entity has instituted procedures for maintaining a list of persons who request not to receive

telemarketing calls made by or on behalf of that person or entity.”

       43.     Any “person who has received more than one telephone call within any 12-month

period by or on behalf of the same entity in violation of the regulations prescribed under this

subsection may” may bring a private action based on a violation of said regulations, which were

promulgated to protect telephone subscribers’ privacy rights to avoid receiving telephone

solicitations to which they object. 47 U.S.C. § 227(c).

       44.     Defendant violated 47 C.F.R. § 64.1200(c) by initiating, or causing to be initiated,

telephone solicitations to telephone subscribers such as Plaintiff and the Do Not Call Registry

Class members who registered their respective telephone numbers on the National Do Not Call

Registry, a listing of persons who do not wish to receive telephone solicitations that is

maintained by the federal government.

       45.     Defendant violated 47 U.S.C. § 227(c)(5) because Plaintiff and the Do Not Call

Registry Class received more than one telephone call in a 12-month period made by or on behalf

of Defendant in violation of 47 C.F.R. § 64.1200, as described above. As a result of Defendant’s

conduct as alleged herein, Plaintiff and the Do Not Call Registry Class suffered actual damages

and, under section 47 U.S.C. § 227(c), are entitled, inter alia, to receive up to $500 in damages

for such violations of 47 C.F.R. § 64.1200.

       46.     To the extent Defendant’s misconduct is determined to be willful and knowing,

the Court should, pursuant to 47 U.S.C. § 227(c)(5), treble the amount of statutory damages

recoverable by the members of the Do Not Call Registry Class.

                               SECOND CAUSE OF ACTION
                             Telephone Consumer Protection Act
                                 (Violations of 47 U.S.C. § 227)
                       (On Behalf of Plaintiff and the Internal DNC Class)



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       47.     Plaintiff repeats and realleges paragraphs 1 through 38 of this Complaint and

incorporates them by reference.

       48.     Under 47 C.F.R. § 64.1200(d): No person or entity shall initiate any call for

telemarketing purposes to a residential telephone subscriber unless such person or entity has

instituted procedures for maintaining a list of persons who request not to receive telemarketing

calls made by or on behalf of that person or entity. The procedures instituted must meet the

following minimum standards:

       (1) Written policy. Persons or entities making calls for telemarketing purposes
       must have a written policy, available upon demand, for maintaining a do-not-call
       list.

       (2) Training of personnel engaged in telemarketing. Personnel engaged in any
       aspect of telemarketing must be informed and trained in the existence and use of
       the do-not-call list.

       (3) Recording, disclosure of do-not-call requests. If a person or entity making a
       call for telemarketing purposes (or on whose behalf such a call is made) receives a
       request from a residential telephone subscriber not to receive calls from that
       person or entity, the person or entity must record the request and place the
       subscriber's name, if provided, and telephone number on the do-not-call list at the
       time the request is made. Persons or entities making calls for telemarketing
       purposes (or on whose behalf such calls are made) must honor a residential
       subscriber's do-not-call request within a reasonable time from the date such
       request is made. This period may not exceed thirty days from the date of such
       request. If such requests are recorded or maintained by a party other than the
       person or entity on whose behalf the telemarketing call is made, the person or
       entity on whose behalf the telemarketing call is made will be liable for any
       failures to honor the do-not-call request. A person or entity making a call for
       telemarketing purposes must obtain a consumer's prior express permission to
       share or forward the consumer's request not to be called to a party other than the
       person or entity on whose behalf a telemarketing call is made or an affiliated
       entity.

       (4) Identification of sellers and telemarketers. A person or entity making a call for
       telemarketing purposes must provide the called party with the name of the
       individual caller, the name of the person or entity on whose behalf the call is
       being made, and a telephone number or address at which the person or entity may
       be contacted. The telephone number provided may not be a 900 number or any
       other number for which charges exceed local or long distance transmission
       charges.

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         (5) Affiliated persons or entities. In the absence of a specific request by the
         subscriber to the contrary, a residential subscriber's do-not-call request shall apply
         to the particular business entity making the call (or on whose behalf a call is
         made), and will not apply to affiliated entities unless the consumer reasonably
         would expect them to be included given the identification of the caller and the
         product being advertised.

         (6) Maintenance of do-not-call lists. A person or entity making calls for
         telemarketing purposes must maintain a record of a consumer's request not to
         receive further telemarketing calls. A do-not-call request must be honored for 5
         years from the time the request is made.

         47 C.F.R. § 64.1200(d).

         49.    The TCPA provides that any “person who has received more than one telephone

call within any 12-month period by or on behalf of the same entity in violation of the regulations

prescribed under this subsection may” bring a private action based on a violation of said

regulations, which were promulgated to protect telephone subscribers’ privacy rights to avoid

receiving telephone solicitations to which they object. 47 U.S.C. § 227(c)(5).

         50.    Defendant’s agents initiated telephone solicitations to Plaintiff and members of

the Internal DNC Class notwithstanding Defendant and/or its agent’s failure to implement

internal procedures for maintaining a list of persons who request not to be called and/or by

implementing procedures that do not meet the minimum standards for initiating telemarketing

calls.

         51.    Defendant has, therefore, violated 47 U.S.C. § 227(c)(5). As a result of

Defendant’s conduct, Plaintiff and the other members of the Internal DNC class are each entitled

to up to $1,500 for each violation.


                                      PRAYER FOR RELIEF

         WHEREFORE, Plaintiff, individually and on behalf of the Classes, prays for the

following relief:


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   a) An order certifying the Classes as defined above; appointing Plaintiff as the

       representative of the Classes; and appointing his attorneys as Class Counsel;

   b) An award of actual and/or statutory damages;

   c) An order declaring that Defendant’s actions, as set out above, violate the TCPA;

   d) An injunction requiring Defendant to cease all unsolicited calling activity, to implement

       sufficient TCPA related policies and procedures, and to otherwise protect the interests of

       the Classes; and

   e) Such further and other relief as the Court deems just and proper.

                                          JURY DEMAND

       Plaintiff requests a jury trial.

                                              Respectfully Submitted,

                                              KAREN MARTIE, individually and on behalf of
                                              those similarly situated individuals



Dated: January 20, 2020                       By: /s/ Stefan Coleman
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